                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION


TITLE TRADING SERVICES USA, INC.                §
                                                §
               Plaintiff,                       §
                                                §
         vs.                                    §    ORDER GRANTING EXPEDITIED
                                                §           DISCOVERY
ARINDAM KUNDU, COASTAL                          §
MANAGEMENT LLC, MARC PRESTON,                   §
SYED SAIF ASHRAF, DEREK CHIU, and               §         JURY TRIAL DEMANDED
ELIOT T. SMITH,                                 §
                                                §
               Defendants.                      §
                                                §
                                                §

         1.    Pending before the Court is the Motion of Title Trading Services USA, Inc.

(“Title Trading,” “Title” or “Company”) for Motion for Expedited Discovery (“Motion for

Expedited Discovery”) filed in connection with Plaintiff’s Application for a Temporary

Restraining Order, Preliminary Injunction and Limited Asset Freeze (the “Application for

TRO”).

         2.    The bases for this Application are fully set forth in Plaintiff’s accompanying

Memorandum of Law in Support (the “Memorandum”), as well as the Declarations of (a) Seif El

Kilany (“SEK”), Head of Global Trading Services of Title Trading (the “Dec. SEK”); (b) Razvan

Herdea, a programmer and writer of trading software codes for Title Trading (“Dec. RH”); and

(c) George Elio, President of Title Trading (“Dec Elio”) (collectively, the “Declarations”) which

are filed in connection with the Application for TRO. The Verified Complaint, Memorandum,

Application for TRO and Declarations filed in connection with the Application for TRO are fully

incorporated by reference herein.




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       3.      Where a party shows good cause, the Federal Rules of Civil Procedure give the

Court discretion to modify the discovery process. FED. R. CIV. P. 26(b). Although the Federal

Rules do not specifically address expediting discovery, a number of courts across the United

States have developed standards on when it is permissible. See, e.g., CIENA Corp. v. Jarrard,

203 F.3d 312, 315 (4th Cir. 2000). See also, Dimension Data North Am., Inc. v. Netstar-1, Inc.,

226 F.R.D. 528, 530-32 (W.D.N.C. 2005). The Court has considered the Motion as well as the

pleadings on file, the evidence, the arguments of the parties and the applicable law. For the

reasons set forth hereafter, the Court finds and determines that Plaintiff Title Trading has

demonstrated good cause, and therefore the Motion is GRANTED, subject to the terms and

conditions of this Order.

       4.      IT IS THEREFORE ORDERED with respect to Defendant Kundu:

               (a)     that Defendant Kundu appear for a video taped deposition
               within five days of service of a notice for such deposition, at which
               Defendant Kundu shall produce all embodiments of any or all Title
               Trade Secrets, Kundu Generated IP, Implementing Software and
               Execution Software, however embodied that he may possess or
               control;

               (b)     within two days of service of this Order, Defendant Kundu
               shall deliver to Title Trading’s computer forensic consultants for
               imaging, and/or permit Title Trading’s computer forensic
               consultants to come on to the premises to image,

                       i. all computers, hard drives, and electronic storage
                          devices (including without limitation thumb drives and
                          other removable media), and specifically including cell
                          phones, personal data assistants and blackberries, used
                          by Defendant Kundu wherever located (but specifically
                          including without limitation such devices located at his
                          residence, any places of work for Defendant Kundu);
                          and

                      ii. any user or shared electronic files and e-mail files,
                          including both live and backup or archived files,
                          containing files and e-mail used, stored, sent or



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                          received by Defendant Kundu during and after his
                          employment with Title Trading,

               with such consultants to exclude and guard against production of
               all clearly personal communications or communications that are to
               or from an attorney;

               (c)      Title Trading’s representatives shall be permitted
               reasonable access to Defendant Kundu’s personal e-mail accounts
               to which he sent Title Trading’s information, including, without
               limitation, his account at arindam.kundu@gmail.com, in order to
               compile an inventory of all Title Trading related information
               forwarded to Defendant Kundu’s personal e-mail accounts and to
               provide a copy to the parties and the Court solely for use in this
               litigation;

       5.      IT IS THEREFORE FURTHER ORDERED with respect to Defendants Coastal

and Preston:

               (a)     Title Trading shall be permitted to serve discovery on
               Defendants Coastal and Preston concerning their dealings with
               Defendant Kundu, which discovery (i) may request and deal with
               all embodiments of any or all Title Trade Secrets, Kundu
               Generated IP, Implementing Software and Execution Software,
               however embodied that they may possess or control and (ii) such
               Defendants are required to fully respond to within 7 days of
               service;

               (b)    Further, Title Trading shall be allowed 30(b)(6) videotaped
               depositions from Defendant Coastal within 7 days of notice; and

               (c)     that Defendant Preston appear for a videotaped deposition
               within five days of service of a notice for such deposition, at which
               Defendant Preston shall produce all embodiments of any or all
               Title Trade Secrets, Kundu Generated IP, Implementing Software
               and Execution Software, however embodied, that he may possess
               or control.

       6.      For purposes of this Order, the following terms shall have the following meanings

(whether embodied in hard copy, electronic form, computer-readable storage media, or cloud-

based storage):




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       (a)    all property, data, confidential and/or proprietary
       information and trade secrets of Title Trading (“Title Trade
       Secrets”);

       (b)     all confidential and/or proprietary information and trade
       secrets created or conceived by Kundu, whether or not shared with
       the other Defendants, while he was employed at Title (herein called
       “Kundu Generated IP”);

       (c)     all trading strategies obtained by, from or as a result of
       Kundu, which (i) involve trading “opening and closing orders”
       regarding “imbalances” which may exist on various exchanges with
       regard to various stocks (herein called “symbols”); (ii) analysis of
       data disseminated by the exchanges about the different “symbols”
       on which an imbalance exists; and (iii) the filtering of such data
       through algorithms to produce any of a ranking of these symbols, or
       a review and/or comparison of the symbols against risk and
       exposure parameters, or a “weigh” and “size” of symbols
       (collectively called “Title Trading Strategies”);

       (d)     any source codes and/or computer programs obtained by,
       from or as a result of Kundu, which automate the processes
       involved in effectuating, utilizing and/or implementing any of the
       Title Trade Secrets, Kundu Generated IP, and/or Title Trading
       Strategies (collectively called “Implementing Software”); and

       (e)     any source codes and/or computer programs obtained by,
       from or as a result of Kundu, which execute transactions which
       have been based on any Title Trade Secrets, Kundu Generated IP,
       Title Trading Strategies, and/or Implementing Software (herein
       called the “Execution Software).

IT IS SO ORDERED.

Signed this __ day of ______, 2014.



                                            ____________________________________
                                             UNITED STATES DISTRICT JUDGE




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